Case 09-10899-JKS Doc1

B | (Official Form 1) (1/08)

Filed 03/18/09 Page 1 of 33

United States Bankruptcy Court
District of Delaware

Name of Debtor (if individual, enter Last, First, Middle):
The Fairchild Corporation

Name of Joint Debtor (Spouse) (Last, First, Middle):
N/A

AH Other Names used by the Debtor in the last 8 ycars
(include married, maiden, and trade names):

All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):
N/A

Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)
Noa./Complete EIN (if more than one, state all):

Last four digits of Sac. Sec. or Individual-Taxpayer I.D, (7TIN} No./Complete
EIN (if more than one, state all):

XX-XXXXXXX N/A
Strect Address of Debtor (No. and Strect, City, and State): Street Address of Debtor (No. and Street, City, and State):
1750 Tysons Boulevard N/A
Suite 1400
McLean, VA
{ ZIP CODE 22102 | ZIP CODE
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
Fairfax N/A

Mailing Address of Debtor (if different from strect address}:

Mailing Address of Joint Debtor (if different from street address):
NIA

[ ZIP CODE

| ZIP CODE

Location of Principal Asscts of Business Debtor (if different from street address above).

See Attached Schedule 1

| ZIP CODE

Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization) (Check one box.) the Petition is Filed
(Check one box.) (Check one box.}
[1 Health Care Business
(1 Individual (includes Joint Debtors) (1 Single Asset Real Estate as Cs Chapter 7 (J Chapter 15 Petition
See Exhibit D on page 2 of this form. defined in 11 U.S.C, § 101(51B) | () — Chapter 9 for Recognition ofa
M4 Corporation (includes LLC and LLP) | (]_ Railroad Ms Chapter 11 Forcign Main Proceeding
(] Partnership C1 Stockbroker (3s Chapter 12 {2 Chapter £5 Petition for
C Other (If debtor is not one of the C] Commodity Broker (3 Chapter 13 Recognition of a Foreign
above entities, check this box and [1 Clearing Bank Nonmain Proceeding
state type of entity below.) Mie Other — Retail/Service
Tax-Exempt Entity Nature of Debts
Check box, if applicable (Check one box.)
(J = Debtor is a tax-exempt 1) Debts are primarily consumer M1 Debts are primarily
organization under Title 26 of the debts, defined in 11 U.S.C, § business debts,
United States Code (the Internal 101(8) as “incurred by an
Revenue Code}. individual primarily for a
personal, family, or
household purpose.”
Filing Fee (Check one box.) Chapter 11 Debtors
(Check one box.)
I Full Filing Fee attached. 4 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
(1 Filing Fee to be paid in installments (applicable to individuals
only). Must attach signed application for the court’s 4 Debtor is not a small business debtor as defined in 11 U.S.C, § 101(51D).
consideration certifying that the debtor is unable to pay fee
except in installments. Rule 1006(b), Sce Official Form 3A. Check if:
(J Filing Fee waiver requested (applicable to chapter 7 OQ Debtor’s aggregate noncontingent liquidated debts (excluding

individuals only), Must attach signed application for the
court’s consideration. See Official Form 3B.

O

debts owed to insiders or affiliates) are less than $2,190,000.

Check all applicable boxes:

A plan is being filed with this petition.
Acceptances of the plan were solicited prepetition from one or more

classes of creditors, in accordance with 11 U.S.C, § 1126(b).
Statistical/Administrative Information THIS SPACE IS FOR
M Debtor estimates that funds will be available for distribution to unsecured creditors. COURT USE ONLY
{] Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds
available for distribution to unsecured creditors.
Estimated Number of Creditors
O C 0 O 0 wi 0 0 O oO
1-49 50-99 100- 200- 1,000- 5,001- 16,001-  25,001- 56,001- Over
199 999 5,000 10,000 25,000 50,060 160,600 100,000
Estimated Asscts
Cj O O Oo vi OG oO
$6 to $50,000 $50,001 to $100,001 $500,001 to $£,060,001 $10,000,001 $50,000,001 $106,000,001 $500,000,001 More than $1
$160,000 to $1 million to $10 to $50 to $100 to $500 to $1 billion billion
$300,000 million million million tuillion
Estimated Liabilities
oO CJ Oo Oo 0 M1 Oo
$8 to $50,000 $50,003 to $100,001 $500,00E to $1,000,001 $10,000,001 $50,000,001 $100,000,00F $500,000,001 More than $1
$106,000 ta $1 million to $10 to $50 fo $100 to $500 to $1 billion ‘billion
$500,000 million million million tniflion

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 2 of 33

B 1 (Official Form 1) (1/08) Page 2

Voluntary Petition Name of Debtor(s):

(This page must be completed and filed in every case.) The Fairchild Corporation

AH Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)

Location Case Number: Date Filed:

Where Filed:

Location Case Number: Date Filed:

Where Filed:

Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (Ef more than onc, attach additional sheet.)

Name of Debtor: Casc Number: Date Filed:

See Attached Schedule 2 March 17, 2009

District: Relationship: Judge:

Delaware Affiliate

Exhibit A Exhibit B

(To be completed if debtor is required to file periodic reports (¢.g,, forms {To be completed if debtor is an individual

10K and 10Q) with the Sccurities and Exchange Commission pursuant to whose debts are primarily consumer debts.)

Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting

relief under chapter 11.) I, the attorney for the petitioner named in the foregoing petition, declare
that I have informed the petitioner that [he or she] may proceed under
chapter 7, 11, 12, or 13 of title I1, United States Code, and have explained
the relief available under cach such chapter. I further certify that I have
delivered to the debfor the notice required by 11 ULS.C. § 342(b).

i Exhibit A is attached and made a part of this petition. xX

Signature of Attomey for Debtor(s) (Date}
Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
or safety?

oO Yes, and Exhibit C is attached and made a part of this petition.

4 No,

Exhibit D
(To be completed by every individual debtor. Ifa joint petition is filed, cach spouse must complete and attach a separate Exhibit D.}
CT] Exhibit D completed and signed by the debtor is attached and made a part of this petition,
If this is a joint petition:
oO Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

Information Regarding the Debtor —Venue
(Check any applicable box)

4 Debtor has becn domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

There is a bankruptcy case conceming debtor’s affitiate, general partner, or partnership pending in this District.

OO

Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
or the interests of the parties will be served in regard to the relief sought in this District.

Certification by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)

Landlord has a judgment against the debtor for possession of debtor’s residence, (If box checked, complete the following.)

(Name of landlord that obtained judgment)

(Address of landlord)

Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
monctary default that gave rise to the judgment for possession, after the judgment for possession was entered,

and Debtor has included with this petition the deposit with the court of any rent that would become duc during the 30-day period after the filing
of the petition.

Debtor certifics that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1).

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Case 09-10899-JKS Doc1

B 1 (Official Form 1) (1/08)

Filed 03/18/09 Page 3 of 33

Page 3

Voluntary Petition
(This page must be completed and filed in every case.)

Name of Debtor(s):
The Fairchild Corporation

Signatures

Signature(s) of Debtor(s) (Individual/Joint)

I declare under penalty of perjury that the information provided in this
petition is true and correct.

[If petitioner is an individual whose debts are primarily consumer debts
and has chosen to file under chapter 7] I am aware that I may proceed
under

chapter 7, 11, 12 or 13 of title 11, United States Code, understand the relief
available under cach such chapter, and choose to proceed under chapter 7.

[If no attorney represents me and no bankruptcy petition preparer signs the
petition] | have obtained and read the notice required by 11 U.S.C. § 342(b

[request relief in accordance with the chapter of title 11, United States
Code, specified in this petition.

Signature of Debtor

Signature of Joint Debtor

Telephone Number (lf not represented by attorney)

Date ‘

Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this
petition is truce and correct, that | am the foreign representative of a debtor in
a foreign proceeding, and that I am authorized to file this petition.

(Check only one box)

O I request relief in accordance with the chapter of title 11, United
States Code, specified in this petition. Certified copies of the
documents required by I1 U.S.C. § 1515 are attached.

Pursuant to 11 U.S.C, § 1511, I request relief in accordance with the
chapter of title 1 1 specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is
attached.

(Signature of Foreign Representative)

(Printed Name of Foreign Representative)

Date

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Xx. A of pS Vv

Matk D. Collins,
Michael J. Me fis ‘Esq.
Jason M. Madron, Esq.

RICHARDS, LAYT!
One Rodney Square
920 North King Street; Wilmington, Delaware 19801

Telephone: (302) 1-7700; Facsimile: (302) 651-7701

-and-

Steven J. Reisman, Esq.

Timothy A. Barnes, Esq.

Veronique A. Hodeau, Esq.

CURTIS, MALLET-PREVOST, COLT & MOSLE LLP
101 Park Avenue; New York, New York 10178
Telephone: (212) 696-6000; Facsimile: (212) 697-1559

March 17, 2009

*In a case in which § 707(b)(4)(D) applies, this signature also constitutes
a certification that the attorncy has no knowledge after an inquiry that the

information in the schedules is incorrect.

Signature of Non-Attorney Bankruptcy Petition Preparer

I declare under penalty of perjury that: (1) | am a bankruptcy petition
preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document
and the notices and information required under 11 U.S.C, §§ 110(b), 110(h),
and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to
11 U.S.C, § 110(h) setting a maximum fee for services chargeable by
bankruptcy petition preparers, I have given the debtor notice of the
maximum amount before preparing any document for filing for a debtor or
accepting any fee from the debtor, as required in that section. Official Form
19 is attached.

Printed Name and title, if any, of Bankruptcy Petition Preparer

Social-Security number (If the bankruptcy petition preparer is not an
individual, state the Social-Security number of the officer, principal,
responsible person or partner of the bankruptcy petition preparer.)
(Required by 11 U.S.C. § 110.)

Address
Signature of Debtor (Corporation/Partnership) x
I declare under penalty of perjury that the information provided in this
petition is true and correet, and that I have been authorized to file this
petition on behalf of the debtor. Date

The debtor requests the relief in accordance with the chapter of title 11,
United Sites Code, spesihed | in this petition.

)f)
a}
x Vowel & Met €
Signature of Authorized ath
Donald E. Miller

Printed Name of Authorized Individual
Chief Restructuring Officer

Signature of bankruptcy petition preparer or officer, principal, responsible
person, or partner whose Social-Security number is provided above.
Names and Social-Security numbers of all other individuals who prepared
or assisted in preparing this document unless the bankruptcy petition
preparer is not an individual.

If more than one person prepared this document, attach additional sheets

conforming to the appropriate official form for cach person.

Title of Authorized Individual
March 17, 2009

Date

A bankruptcy petition preparer’s failure to comply with the provisions of title
11 and the Federal Rules of Bankruptcy Procedure may result in fines or

imprisonment or both, 11 U.S.C. § 110; 18 U.S.C. § 156.

3.

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 4 of 33

Schedule 1
Location of Principal Assets

Aptos, CA

Atlanta, GA

Austin, TX

Cortaillod, Switzerland
Denton, TX

Essex, England

Exeter, NH
Farmingdale, NY
Greer, SC

Long Island City, NY
McLean, VA

New York, NY

Paris, France

South San Francisco, CA
Titusville, FL

Tustin, CA

West Hempstead, NY
Wichita, KS

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 5 of 33

Schedule 2

List of Affiliated Debtors

The Fairchild Corporation

A10 Inc.

Aero International, Inc.

Aircraft Tire Corporation

Banner Aerospace Holding Company I, Inc.
Banner Aerospace Holding Company IJ, Inc.
Banner Aerospace Services, Inc.

Banner Aerospace-Singapore, Inc.

Banner Capital Ventures, Inc.

Banner Energy Corporation of Kentucky, Inc.

Banner Industrial Distribution, Inc.
Banner Industrial Products, Inc.
BAR DE, Inc.

DAC International, Inc.

Dallas Aerospace, Inc.

DEM Mairoll, LLC

Discontinued Aircraft, Inc.
Discontinued Services, Inc.

Euro MLS, Inc.

Fairchild Data Corporation
Fairchild Fasteners Corp.

Fairchild France, Inc.

Fairchild Holding Corp.

Fairchild International, Inc.
Fairchild Realty, LLC

Fairchild Retiree Medical Services, Inc.
Fairchild Sports USA, Inc.
Fairchild Sports, Inc.

Fairchild Switzerland, Inc.
Fairchild Technologies IP, Inc.
Fairchild Titanium Technologies, Inc.

5523525

Fairchild Trading Corp.

Faircraft Sales Ltd.

GCCUS, Inc.

Gobble Gobble, Inc.

Intersport Fashions West, Inc.
Jenkins Coal Dock Company, Inc.
Mairoll, Inc.

Marcliff Corporation

Marson Creative Fastener, Inc.
Matrix Aviation, Inc.

Meow, Inc.

NASAM Incorporated

PB Herndon Aerospace, Inc.
Plymouth Leasing Company
Professional Aircraft Accessories, Inc.
Professional Aviation Associates, Inc.
Recoil Australia Holdings, Inc.
Recoil Holdings, Inc.

Recoil Inc.

Recycling Investments IT, Inc.
Recycling Investments III, Inc.
Republic Thunderbolt North, LLC
Republic Thunderbolt West, LLC
Republic Thunderboit, L.LC

RHI Hoidings, Inc.

Sheepdog, Inc.

Sovereign Air Limited
Suchomimous Terensis, Inc.
Swimming Upstream LLC

The Rooster, Inc.
Case 09-10899-JKS Doc1 Filed 03/18/09 Page 6 of 33

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

THE FAIRCHILD CORPORATION, Case No. 09-_(___)

Debtor.
Tax LD. No. XX-XXXXXXX

Saree See Snel Nine ne Nee” ee ne”

EXHIBIT “A” TO VOLUNTARY PETITION

lL. The employer identification number of the above-captioned debtor and debtor-in-
possession (the “Debtor”) is XX-XXXXXXX. The Debtor’s SEC file number is 1-6560.
2. The following financial data is the latest available information and refers to the
Debtor’s condition on January 31, 2009:
a. Total assets: $89,433,000
b. Total debts (including debts listed in 2.c., below): $228,095,000
c. Debt securities held by more than 500 holders: N/A
d. Number of shares of preferred stock: N/A
e. Number of shares of common stock:

Class A Common Stock: 40,000,000 shares authorized and 22,607,235 shares
issued and outstanding.

Class B Common Stock: 10,000,000 shares authorized and 2,618,938 shares
issued and outstanding.

3. Brief description of the Debtor’s business:

The Debtor is a holding company owning businesses that (a) design and
sell motorcycle apparel, protective clothing, helmets, and technical
accessories for motorcycle owners in Europe, (b) stock and distribute
aircraft parts to commercial airlines, air cargo carriers, fixed-base
operators, corporate aircraft operators, and other aerospace companies and

5467768
Case 09-10899-JKS Doci1 Filed 03/18/09 Page 7 of 33

(c) owns several parcels of real estate in Farmingdale, New York, which it
has been in the process of selling and developing.

4. List the name of any person who directly or indirectly owns, controls, or holds,

with power to vote, 5% or more of the voting securities of debtor:

Class A Stock
Name Number of Shares | % of Class A Stock
Phoenix FA Holdings, LLC 6,959,288 30.78%
GAMCO Investors, Inc. 4,464,992 19.75%
The Steiner Group, LLC 3,193,688 14.13%
Class B Stock
Name Number of Shares % of Class B Stock
The Steiner Group, LLC 2,533,996 96.76%
5. The Debtor’s equity securities were publicly traded on the New York Stock

Exchange (the “Exchange’”) under the symbol “FA.” On January 5, 2009 the Debtor was
notified by letter that the Class A Common Stock would be suspended from trading. Before the
opening of the trading session on January 9, 2009 trading in the Class A Common Stock on the
Exchange was suspended. The entire class of the Debtor’s Class A Common Stock was removed

from listing and registration on the Exchange at the opening of business on February 5, 2009.

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 8 of 33

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

THE FAIRCHILD CORPORATION, et al., Case No. 09-

Debtors. Joint Administration Pending

)
)
)
)
)
)
)

CONSOLIDATED LIST OF CREDITORS
HOLDING THE 40 LARGEST UNSECURED CLAIMS
AGAINST THE DEBTOR

The Fairchild Corporation (“Fairchild”) and the other debtors and debtors-in-possession
in the above-captioned cases (collectively with Fairchild, the “Debtors”) filed voluntary petitions
for relief under chapter 11 of the Bankruptcy Code, 11 U.S.C. §§ 101-1532. The following is a
consolidated list of the Debtors’ creditors holding the 40 largest unsecured claims (the
“Consolidated List”) based on the Debtors’ books and records as of approximately March 16,
2009. The Consolidated List is prepared in accordance with Rule 1007(d) of the Federal Rules
of Bankruptcy Procedure for filing in these chapter 11 cases. The Consolidated List does not
include (1) persons who come within the definition of “insider” set forth in 11 U.S.C. § 101(31)
or (2) secured creditors, unless the value of the collateral is such that the unsecured deficiency
places the creditor among the holders of the 40 largest unsecured claims on a consolidated basis.
None of these creditors are minor children. The information contained herein shall neither
constitute an admission of liability by, nor is it binding on, the Debtors. The information herein,
including the failure of the Debtors to list any claim as contingent, unliquidated or disputed, does
not constitute a waiver of the Debtors’ right to contest the validity, priority or amount of any
claim.

' The last four digits of Fairchild’s federal tax identification number are 8587. The mailing address for Fairchild is
1750 Tysons Boulevard, Suite 1400, McLean, VA 22102. Due to the large number of Debtors in these cases, for
which the Debtors have requested joint administration, a complete list of the Debtors, the last four digits of their
federal tax identification numbers and their addresses is not provided herein, A complete list of such information
may be obtained on the website of the Debtors’ proposed noticing and claims agent at
http://chapter1 | .epiqsystems.com/fairchild.

5417403
Case 09-10899-JKS Doc1 Filed 03/18/09 Page 9 of 33

_Name of creditor and

Nature of Indicate if Amount of
complete mailing address, Name, telephone number and claim (trade, claim is Claim
. including zip codé complete mailing address debt, bank contingent (secured also
_ including zip code of employee 1 , li a t a
agents or department of creditor oan, waliqurdaree state value of
_ familiar with claim who may be government disputed oF security)
contacted contracts, etc.) | subject to set
mo off
Pension Benefit Guaranty Office of the General Counsel Benefit Plan Contingent $55,000,000
Corporation Pension Benefit Guaranty Unliquidated
Corporation
Tel: (202) 326-4000
Fax: (202) 842-2643
1200 K Street, N.W.
Washington, DC 20005-4026
AVI Jiichen GmbH Mr, Michael Martin Letter of Contingent $33,658,000
Widdersdorfer Strasse 252 Managing Director Comfort [€26,502,000]
D-50933 Cologne, Germany Tel: +49 221 94 97 32 0
Fax: +49 221 49 72 168
mm@avi-gmbh.de
Widdersdorfer Strasse 252
D-50933 Cologne, Germany
Retiree Health Plan for a Mr. Richard Dorn Benefit Plan Unliquidated | $18,671,000
Certain Class of Former Tel: (212) 627-8100
Employees of Fairchild Fax: (212) 627-8182
Republic Company ndorn@trbpe.com
c/o Mr. Richard Dern Levy Ratner P.C.
Levy Ratner P.C. 80 8th Avenue
80 8th Avenue 8th Floor
8th Floor New York, NY 10011-5126
New York, NY 10011-5126
Ohio Workers Compensation Mr. Joseph T. Chapman Assumed Disputed $9,590,000
Mr, Joseph T. Chapman Tel: (614) 466-6594 Liability
Senior Assistant Attorney Fax: (614) 752-9070
General ichapman@ag.state.oh.us
Collection Enforcement Senior Assistant Attorney General
150 E. Gay Street, 21st Floor Collection Enforcement
Columbus, Ohio 150 E. Gay Street, 21st Floor
Columbus, Ohio
AVI Lagertechnic GmbH Mr. Michael Martin Letter of Contingent $9,340,000
Widdersdorfer Strasse 252 Tel: +49 221 94 97 32 0 Comfort [€7,353,750]

D-50933 Cologne, Germany

Fax: +49 221 49 72 168
mm@avi-gmbh.de
Managing Director
Widdersdorfer Strasse 252
D-50933 Cologne, Germany

5417403

Case 09-10899-JKS Doc1 Filed 03/18/09 Page 10 of 33

Name of creditor and

Nature of Indicate if Amount of
complete mailing address, Name, telephone number and claim (trade, claim is Claim
including zip code complete mailing address debt, bank contingent (secured als
ot including zip code of employee 1 , li . i a ‘ 1 °
agents or department of creditor oan, un iquidated, | state value of
familiar with claim who may be government disputed or security)
contacted contracts, etc.) | subject to set
off
Stadtsparkasse Diisseldorf Mr. Norbert Prenzel Guaranty Contingent $6,604,000
Berliner Alle 33 Tel; +49 211 878 5800 [€5,200,000]
40212 Diisseldorf, Germany Fax: +49 21} 878 5805
Norbert.Prenzel@sskduesseldorf.de
Stadtsparkasse Diisseldorf
Berliner Alle 33
40212 Diisseldorf, Germany
HSBC Trinkaus & Burkhardt Mr. Stephan Beckers Guaranty Contingent $6,604,000
AG Tel: +49 211 910 1369 [€5,200,000]
Kinigsalle 21-23 Fax: +49 211 910 2535
40212 Diisseldorf, Germany stephan. beckers@hsbctrinkaus.de
HSBC Trinkaus & Burkhardt AG
Kéonigsalle 21-23
40212 Diisseldorf, Germany
Column Financial Mr. Robert Van Biber Environmental Contingent $6,195,000
c/o Keybank Real Estate Tel: (816) 412-5181 Unliquidated
Capital Fax: (877) 379-1625
911 Main Street robert_a_vanbiber@keybank.com
Suite 1500 Column Financial
Kansas City, MO 64105 c/o Keybank Real Estate Capital
911 Main Street
Suite 1500
Kansas City, MO 64105
New York Dept. of Mr. Steven Scharf, P.E. Environmental Unliquidated $6,195,000

Environmental Conservation
Division of Environmental
Remedial Bureau A

625 Broadway, 11" Floor
Albany, NY 12233

Tel: (518) 402-9620

Fax: (518) 402-9022

New York Dept. of Environmental
Conservation

Division of Environmental
Remedial Bureau A

625 Broadway, 11" Floor
Albany, NY 12233

Reference:

Mairoll Fairchild Republic Main
Plant Site

NYSEC Site No. 1-52-130

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 11 of 33

~~  Naite of creditor and

. ; Nature of Indicate if Amount of
ae N leph b :
complete mailing address, comple te mailing ad ner and claim (trade, claim is Claim
. j . . . .
including zip code including zip code of employee ache bank eee (secured also
agents or department of creditor oan, ' “i tqui ae » | State value of
familiar with claim who may be oiracte. et ypu oF security)
contacted contracts, etc.) | subject to set
off
San Gabriel Valley BPOU Mr. C. Scott Goulart Environmental Unliquidated $2,287,000
(Tubing Seal Cap; Azusa, CA) | Charles.goulart@aerojet.com Disputed
Highway 50 at Aerojet Road Subject to
PG setoff

Rancho Cordova, CA 95670

Mr. Norman Dupont Esq.
ndupont@rwglaw.com
Reichhold, Inc.

c/o Richards, Watson & Gershon
355 South Grand Ave., 40" Floor
Les Angeles, CA 90071-3101

Mr. Steven Richtel

srichtek@wm.com

Chemical Waste Management

c/o Waste Management, Inc.

8310 South Valley Highway Rd., Suite
200

Englewood, CO 80112

Mr. Wayne Praskings

Environmental Protection Agency
US Environmental Protection Agency
Region 9

75 Hawthorne Street (SFD-7-3}

San Francisco, CA 94105

Mr. Mark Allendorf
Mark.allendorf@awin.com

1001 South Dairy Ashford, Suite 400
Houston, TX 77077

Mr. Paul Tamborrino

Special Assistant
ptamborrino@hartwellcorp.com
Hartwell Corporation

900 8. Richfield Road
Placentia, CA 92870

Mr. Thomas L. Meyer Esq.
tmeyer@parker.com

Winco Enterprises Inc.

c/o Parker-Hannifin Corporation
6035 Parkland Boulevard
Mayfield Heights, OH 44124

Mr. Frederic A. Fudacz

Water Entities

c/o Nossaman LLP

445 S. Figueroa Street, 31% Floor
Los Angeles, CA 90071

5417403

Case 09-10899-JKS Doc1 Filed 03/18/09 Page 12 of 33

Name of creditor and Nature of Indicate if Amount of
complete mailing address, Name, telephone number and claim (trade claim is Claim
including zip code complete mailing address debt, bank ti
& 7p including zip code of employee en Dan con ingent, (secured also
agents or department of creditor loan, unl iquidated, | state value of
familiar with claim who may be government disputed or security)
contacted contracts, etc.) | subject to set
off
Jerry R. Lirette Mr. Jerry R. Lirette Deferred $1,575,000
29111 Stephenson Highway Fel: (248) 646-2191 Compensation
Madison Heights, MI 48071 29111 Stephenson Highway
Madison Heights, MI 48071
Universal Avionics Systems Mr. Paul Deherrea Trade Unliquidated $1,350,000
3260 E. Universal Way Chief Operating Officer
Tucson, AZ 85756-5097 Tel: (520) 295-2355
Fax: (520) 434-4454
pdeherrera@uasc.com
Universal Avionics Systems
3260 E. Universal Way
Tucson, AZ 85756-5097
Schopf & Weiss LLP Peter Baugher Esq. Trade $1,290,000
One South Wacker Drive Tel: (312) 701-9315
28th Floor Fax: (312) 701-9335
Chicago, IL 60606 baugher@sw.com
Schopf & Weiss LLP
One South Wacker Drive
28th Floor
Chicago, [IL 60606
BDO Seidman LLP Mr. Mark Ellenbogen Trade Unliquidated $857,000
7101 Wisconsin Avenue Tel: (301) 634-4975
Suite 800 Fax: (301) 654-3567
Bethesda, MD 20814-4868 MEllenbogen@bdo.com
BDO Seidman LLP
7101 Wisconsin Avenue
Suite 800
Bethesda, MD 20814-4868
Ohio Casualty Insurance Co. Mr. William Woods Esq. Guaranty Disputed $825,000

c/o Mr. William Woods Esq.
McNamara & McNamara

88 E, Broad Street , Suite 1250
Columbus Ohio 43215

McNamara & McNamara

Tel: (614) 228-6131

Fax: (614) 228-6126
whwoods@mecnamaralaw.us
88 E. Broad Street , Suite 1250
Columbus Ohio 43215

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 13 of 33

Name of creditor and Name, telephone number and Nature of Indicate if Amount of
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agents or department of creditor oan, maiquigared state varueo
familiar with claim who may be povernment disputed or security)
contacted contracts, etc.) | subject to set
off
Messier Services America, Inc. | Ms. Alexandra Causse Trade Unliquidated $725,000
36 Hartford Street Tek (415) 839-8485
San Francisco, CA 94114 Fax: (415) 215-1619
alexandra.causse@messier-
dowty.com
Messier Services America, Inc.
36 Hartford Street
San Francisco, CA 94114
Mr. Donald Taylor Mr. Donald Taylor Life Insurance Contingent $660,000
1 Runnymede Drive Tel: (603) 964-6467
North Hampton, NH 03862 1 Runnymede Drive
North Hampton, NH 03862
Maryland Department of the Mr. Chau Nguyen Environmental | Unliquidated $618,000
Environment Tel: (410) 537-3000
1800 Washington Blvd. [No publicly avail. Fax]
Suite 625 Maryland Department of the
Baltimore, MD 21230 Environment
Env’! Restoration &
Redevelopment
CHS Enf't/Fund Lead Site
Assessment
1800 Washington Blvd.
Suite 625
Baltimore, MD 21230
Reference: Former Fairchild
Republic Facility
Hagerstown, MD
Stadtsparkasse Diisseldorf Mr. Norbert Prenzel Loan Guaranty Contingent $598,000
Berliner Alle 33 Tel: +49 211 878 5800 Agreement [€470,400]
40212 Ditsseldorf, Germany Fax: +49 211 878 5805
Norbert.Prenzel@sskduesseldorf.de
Stadtsparkasse Diisseldorf
Berliner Alle 33
49212 Disseldorf, Germany
HSBC Trinkaus & Burkhardt Mr, Stephan Beckers Loan Guaranty Contingent $598,000
AG Tel: +49 211 910 1369 Agreement {€470,400]

K6nigsalle 21-23
40212 Dusseldorf, Germany

Fax: +49 211 910 2535

stephan. beckers@hsbctrinkaus.de
HSBC Trinkaus & Burkhardt AG
Kénigsaile 21-23

40212 Dusseldorf, Germany

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 14 of 33

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including zip code of employee -
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agents or department of creditor .
familiar with claim who may be government disputed or security)
contacted contracts, etc.} | subject fo set
off
Michigan Dept. of Env’! Ms. Elaine Pelc Environmental Unliquidated $568,000
Quality Tel: (989) 731-4920
Remediation & Redevelopment | Fax: (989) 731-6181
Division Michigan Dept. of Env’! Quality
2100 West M-32 Remediation & Redevelopment
Gaylord, MI 49734 Division
2100 West M-32
Gaylord, MI 49734
Reference:
DME Charlevoix, MI
AOC-ERD-02-003
D-M-E Company, Inc. David E. Lawrence, CEO Indemnification | Unliquidated $568,000
Milacron, Inc. D-M-E Company, Inc.
4165 Half Acre Road Milacron, Inc.
Batavia, OH 45103 4165 Half Acre Road
Batavia, OH 45103
Mr. Edward Uhl Mr, Edward Uhi SERP Unliquidated $550,000
PO Box 372 Tel: (410) 820-8269
Trappe, MD 21673-0372 PO Box 372
Trappe, MD 21673-0372
Rexnord Industries, LLC and Rexnord Industries, LLC and Judgment Disputed $540,916
Invensys, Inc. Invensys, Inc.
Mr. Jay S. Ehle
Vice President and General
Counsel
Invensys, Inc.
33 Commercial Street, B51-2]
Foxboro, MA 02035
Tel: (508} 549-6717
Fax: (508) 549-6698
jay ehle@ips.invensys.com
Ms. Patricia M. Whaley
General Counsel
Rexnord Industries, LLC
4701 W. Greenfield Avenue
Milwaukee, WI 53214-5310
Te;: (414) 643-3000
Fax: (414) 643-3078
Mr. Wilbert Schauer Mr, Wilbert Schauer Life Insurance Contingent $478,000

3215 Gulf Shore Blvd. N
Naples, FL 34103-3920

Tel: (239) 263-7190
3215 Gulf Shore Blvd. N
Naples, FL. 34103-3920

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 15 of 33

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agents or department of creditor : .
we . . government disputed or security)
familiar with claim who may be :
contracts, etc.} | subject to set
contacted
off
California Regional Water Ms. Ann B. Lin, P.E. Environmental Unliquidated $475,000
Quality Control Board Tel: (213) 576-6600
Linda 8. Adams, Cal/EPA Fax: (213) 576-6640
Secretary California Regional Water Quality
320 W. 4" Street Control Board
Suite 200 320 W. 4" Street
Los Angeles, CA 90013 Suite 200
Los Angeles, CA 90013
Reference:
Former Voi-Shan Facility
4001 Inglewood Avenue
Redondo Beach, CA
Site Cleanup Progratn No. 0689
Site ID No. 204A P00
PricewaterhouseCoopers Mr, Roman Wollscheid Trade $462,500
Aktiengesellschaft _| Tel: +49 170 917 0722 [€363,500}
Wirtschaftspriifungsgeselischaft | Fax: +49 69 9585 1000
Olof-Palme-Strasse 35 roman. wollscheid@de.pwe.com
60439 Frankfurt, Germany Olof-Palme-Strasse 35
60439 Frankfurt, Germany
Peerless Insurance Co. Mr. Kar! Sutter Esq. Guaranty Disputed $328,000
c/o Mr. Karl Sutter Esq. Tel: (614) 227-2276
Porter, Wright & Morris Fax: (614) 227-2100
41 8. High Street ksutter@porterwright.com
Columbus, Ohio 43215 Porter, Wright & Morris
41 8, High Street
Columbus, Ohio.43215
Ganfer & Shore, LLP Mr. Ira Matetsky Esq. Trade $284,143

360 Lexington Avenue
New York, NY 10017

Tel: (212) 922-9250

Fax: (212) 922-9335
imatetsky@ganshore.com
Ganfer & Shore, LLP
360 Lexington Avenue
New York, NY 10017

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 16 of 33

Name of creditor and Name, telephone number and Nature of Indicate if Amount of
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familiar with claim who may be | 20Yernment | disputedor | — security)
contacted contracts, etc.) | subject to set
off
Ermgassen & Co Mr. Sven Leissler Trade Disputed $252,000
Michelin House Executive Director [€197,520]
81 Fulham Road Tel: +44 20 7838 6705
London SW3 6RD Fax: +44 20 7838 6800
United Kingdom Sven_Leissler@Ermgassen.com
Ermgassen & Co
Michelin House
81 Fulham Road
London 8W3 6RD
United Kingdom
Mr. Warren Stumpe Mr. Warren Stumpe Life Insurance Contingent $250,000
1531 W. Greenbriar Lane Tel: (262) 241-2560
Mequon, WI 53092 1531 W. Greenbriar Lane
Mequon, WI 53092
San Gabriel Valley Mr. James Collins Environmental | Unliquidated $250,000
SEMOU Asst. Regional Counsel

Tel: (415) 972-8021

Fax: (415) 947-3570
Environmental Protection Agency,
EPA-Region EX

75 Hawthorne Street

Mail Cod ORC-3

San Francisco, CA 94105

Mr. Lawrence A, Hobel Esq.
Tel: (415) 772-6000

Pax: (415) 772-6282

Re: Aerojet-General Corporation
Covington & Burling

One Front St.

San Francisco, CA 94111]

Mr, Ronald J. Tenpas Esq.
Tel: (202) 514-2779

U.S. Department of Justice
P.O. Box 7611

Washington, DC 20044-7611

Ms. Ann Rushton

Tel: (213) 897-2608

Fax: (213) 897-2802

California Office of Attorney General
300 South Spring Street

Suite 1702

Los Angeles, CA 90013

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 17 of 33

Name of creditor and Name, telephone number and Nature of Indicate if Amount of
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agents or department of creditor . :
familiar with claim who may be government disputed or security)
contacted contracts, etc.) | subject to set
off
Plastic Engineered Components | Plastic Engineered Components Indemnification | Unliquidated $250,000
1807 Vanderbilt Road 1807 Vanderbilt Road
Kalamazoo, MI 49204 Kalamazoo, MI 49204
Tel: (616) 323-8538
Fax: (616) 327-3652
Hawker Beechcraft Corp. Mr. Jeff Ellis Trade Unliquidated $236,000
10511 E. Central Tel: (316) 676-3270
Wichita, KS 67206 Fax: (316) 676-3251
Jeff_Ellis@hawkerbeechcraft.com
Hawker Beechcraft Corp.
10511 E. Central
Wichita, KS 67206
Northrop Grumman Litef Mr. Hans-Peter Negele Trade Unliquidated $230,000
GmbH Manager AHRS Contracts
Lorracherstr 18 Ph: +49 761 4901 489
D-79115, Freiburg Germany Fax: +49 761 4901 649
Negele.Hans-Peter@ng-litef.de
Northrop Grumman Litef GmbH
Lorracherstr 18
D-79115, Freiburg Germany
Fulbright & Jaworski, LLP Mr. Colin Lennard Esq. ‘Trade $196,418
1301 McKinney, Suite 5100 Tel: (213) 892-9224
Houston, TX 77010-3095 Fax: (213) 892-9494
clennard@fulbright.com
Fulbright & Jaworski, LLP
1301 McKinney, Suite 5100
Houston, TX 77010-3095
Cahill Gordon & Reindel LLP Mr. James Clark Esq. Trade Contingent $196,336
Eighty Pine Street Tel: (212) 701-3849
New York, NY 10005-1702 Fax: (212) 269-5420
jelark@cahill.com
Cahill Gordon & Reindell LLP
Eighty Pine Street
New York, NY 10005-1702
Avidyne Corporation Mr. Patrick Herguth Trade Unliquidated $190,000

§5 Old Bedford Rd.
Lincoln, MA 01773

Chief Operating Officer
Tel: (781) 402-7409
Fax: (781) 402-7597
pherguth@avidyne.com
Avidyne Corporation
55 Old Bedford Rd.
Lincoln, MA 01773

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 18 of 33

Name of creditor and

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agents or department of creditor . .
ays ‘ . government disputed or security)
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contracts, etc.) | subject to set
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Mr. Kenworthy J. Thompson Mr. Kenworthy J. Thompson Life Insurance Contingent $184,000
8719 W. Greenfield Ave. 8719 W. Greenfield Ave.
Milwaukee, WI 533214 Milwaukee, WI 53214
Hogan & Hartson Mr. Martin Michaelson Esq. Trade $170,314

Columbia Square
555 Thirteenth Street, NW
Washington, DC 2004

Tel: (202) 637-5748

Fax: (202) 637-5910
mmichaelson@hhlaw.com
Hogan & Hartson
Columbia Square

555 Thirteenth Street, NW
Washington, DC 2004

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10

Case 09-10899-JKS Doc1 Filed 03/18/09 Page 19 of 33

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

THE FAIRCHILD CORPORATION, Case No.09-— (_?)

Debtor.
Tax I.D. No. XX-XXXXXXX

Nee ee Ne

DECLARATION REGARDING THE CONSOLIDATED LIST OF CREDITORS
HOLDING THE LARGEST UNSECURED CLAIMS
AGAINST THE DEBTORS

I, Donald E. Miller, Chief Restructuring Officer, as an authorized officer of the above-
captioned debtor and debtor-in-possession in this chapter 11 case, declare under penalty of
perjury that I have reviewed the foregoing consolidated list if creditors holding the largest
unsecured claims against the debtors and that it is true and correct as of the date specified below,

to the best of my knowledge, information and belief.

Dated: March 16, 2009

Row Ch Z. Shilli _
Donald E. Miller °
Chief Restructuring Officer

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 20 of 33

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:
THE FAIRCHILD CORPORATION,

Debtor.
Tax 1.D. No. XX-XXXXXXX

Chapter 11

Case No. 09- ( }

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LIST OF EQUITY SECURITY HOLDERS
AND CORPORATE OWNERSHIP STATEMENT

In accordance with Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the

Debtors submit the following information:

Debtor

Equity Holder(s)'

The Fairchild Corporation

See Attached Annex 1

Al1O Inc.

Fairchild Holding Corp. (100%)

Aero International, Inc.

Intersport Fashions West, Inc. (81%)
RHI Holdings, Inc. (19%)

Aircraft Tire Corporation

The Fairchild Corporation (100%)

Banner Aerospace Holding Company I, Inc.

The Fairchild Corporation (100%)

Banner Aerospace Holding Company I, Inc.

RHI Holdings, Inc. (100%)

Banner Aerospace Services, Inc.

Intersport Fashions West, Inc. (100%)

Banner Aerospace-Singapore, Inc.

Intersport Fashions West, Inc. (100%)

Banner Capital Ventures, Inc.

RHI Holdings, Inc. (100%)

Banner Energy Corporation of Kentucky, Inc.

The Fairchild Corporation (100%)

Banner Industrial Distribution, Inc.

RHI Holdings, Inc. (100%)

Banner Industrial Products, Inc.

The Fairchild Corporation (100%)

BAR DE, Inc.

RHI Holdings, Inc. (98.6%)
Banner Aerospace Services, Inc. (.9%)
PB Herndon Aerospace, Inc. (.5%)

DAC International, Inc.

Banner Aerospace Holding Company I, Inc.
(100%)

Dallas Aerospace, Inc.

Intersport Fashions West, Inc. (100%)

DEM Mairoll, LLC

The Fairchild Corporation (100%)

Discontinued Aircraft, Inc.

Intersport Fashions West, Inc. (100%)

' Other than the entities set forth on Annex 1, each of the Equity Holders is an affiliate, general partner, or
partnership of The Fairchild Corporation with a chapter 11 petition pending in this district. The mailing address for

each of the Equity Holders not listed on Annex i is 1750 Tysons Boulevard, Suite 1400, McLean, VA 22102.

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Case 09-10899-JKS Doc1

Filed 03/18/09 Page 21 of 33

Debtor

Equity Holder(s)’

Discontinued Services, Inc.

Intersport Fashions West, Inc, (100%)

Euro MLS, Inc.

Fairchild Holding Corp. (100%)

Fairchild Data Corporation

Fairchild Holding Corp. (100%)

Fairchild Fasteners Corp.

Fairchild Holding Corp. (100%)

Fairchild France, Inc.

RHI Holdings, Inc. (100%)

Fairchild Holding Corp. RHI Holdings, Inc. (100%)
Fairchild International, Inc. Fairchild Holding Corp. (100%)
Fairchild Realty, LLC The Fairchild Corporation (100%)

Fairchild Retiree Medical Services, Inc.

A10 Inc. (100%)

Fairchild Sports USA, Inc.

Euro MLS, Inc. (100%)

Fairchild Sports, Inc.

Fairchild Holding Corp. (100%)

Fairchild Switzerland, Inc.

Fairchild Holding Corp. (100%)

Fairchild Technologies IP, Inc.

Fairchild Holding Corp. (100%)

Fairchild Titanium Technologies, Inc.

The Fairchild Corporation (100%)

Fairchild Trading Corp. Fairchild Holding Corp. (100%)

Faircraft Sales Ltd. The Fairchild Corporation (100%)

GCCUS, Inc. Banner Aerospace Holding Company I, Inc.
(100%)

Gobble Gobble, Inc. RHI Holdings, Inc. (100%)

Intersport Fashions West, Inc.

The Fairchild Corporation (98.07%)

RHI Holdings, Inc. (1.88%)

Banner Aerospace Holding Company II, Inc.
(.05%)

Jenkins Coal Dock Company, Inc.

Banner Energy Corporation of Kentucky, Inc.

(100%)

Mairoll, Inc.

Fairchild Holding Corp. (100%)

Marcliff Corporation

Fairchild Holding Corp. (100%)

Marson Creative Fastener, Inc.

Marcliff Corporation (100%)

Matrix Aviation, Inc.

Banner Aerospace Holding Company I, Inc.
(100%)

Meow, Inc.

Fairchild Holding Corp. (100%)

NASAM Incorporated

Banner Aerospace Holding Company I, Inc.
(100%)

PB Herndon Aerospace, Inc.

Dallas Aerospace, Inc. (100%)

Plymouth Leasing Company

The Fairchild Corporation (100%)

Professional Aircraft Accessories, Inc.

Banner Aerospace Holding Company I, Inc.
(100%)

Professional Aviation Associates, Inc.

Banner Aerospace Holding Company I, Inc.
(100%)

Recoil Australia Holdings, Inc.

Fairchild Holding Corp. (100%)

Recoil Holdings, Inc.

Fairchild Holding Corp, (100%)

Recoil Inc.

Fairchild Holding Corp. (100%)

Recycling Investments IT, Inc.

RHI Holdings, Inc, (100%)

Recycling Investments III, Inc.

RHI Holdings, Inc. (100%)

5417384
Case 09-10899-JKS Doc1 Filed 03/18/09 Page 22 of 33

Debtor

Equity Holder(s)'

Republic Thunderbolt North, LLC

The Fairchild Corporation (100%)

Republic Thunderbolt West, LLC

The Fairchild Corporation (100%)

Republic Thunderbolt, LLC

DEM Mairoll, LLC (100%)

RHI Holdings, Inc.

The Fairchild Corporation (100%)

Sheepdog, Inc.

Fairchild Holding Corp, (100%)

Sovereign Air Limited

RHI Holdings, Inc. (100%)

Suchomimous Terensis, Inc.

Fairchild Holding Corp. (100%)

Swimming Upstream LLC

Fairchild Holding Corp. (100%)

The Rooster, Inc.

Fairchild Holding Corp. (100%)

5417384

Case 09-10899-JKS Doc1 Filed 03/18/09 Page 23 of 33

Annex 1

The Fairchild Corporation Class A Stock

Name and Address Number of Shares % of Class A Stock

Phoenix FA Holdings, LLC 6,959,288 30.78%
110 East 59" Street, Suite 1901
New York, NY 10622

GAMCO Investors, Inc. 4,464,992 19.75%
One Corporate Center
Rye, NY 10580

The Steiner Group, LLC 3,193,688 14.13%
c/o Withers Bergman LLP

157 Church Street, 19th Floor
New Haven, Connecticut 06510

The Fairchild Corporation Class B Stock

Name and Address Number of Shares % of Class B Stock
The Steiner Group, LLC 2,533,996 96.76%

c/o Withers Bergman LLP

157 Church Street, 19th Floor

New Haven, Connecticut 06510

5417384
Case 09-10899-JKS Doc1 Filed 03/18/09 Page 24 of 33

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

THE FAIRCHILD CORPORATION, Case No. 09- (_)

Debtor.
Tax I.D. No. XX-XXXXXXX

Nee ee ee ee ee ee

DECLARATION REGARDING
LIST OF EQUITY SECURITY HOLDERS
AND CORPORATE OWNERSHIP STATEMENT

I, Donald E. Miller, Chief Restructuring Officer, as an authorized officer of the above-
captioned debtor and debtor-in-possession in this chapter 11 case, declare under penalty of
perjury that I have reviewed the foregoing list of equity security holders and corporate ownership
statement and that it is true and correct as of the date specified below, to the best of my

knowledge, information and belief.

Dated: March 16, 2009

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A
Donald E. Miller
Chief Restructuring Officer

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 25 of 33

OFFICER’S CERTIFICATE OF
FOULING RESOLUTIONS

I, Donald E. Miller, Chief Restructuring Officer of each of The Fairchild Corporation and its

direct and indirect subsidiaries set forth in Appendix 1 (each, individually, a “Company” and,
collectively, the “Companies”), hereby certify that

below,

5538388

A. The Fairchild Corporation, at meetings of its board of directors on the dates set forth
adopted the following resolutions:

Qn March 13, 2009:

Confirmation of Retention of Counsels, Advisors and Chief Restructuring Officer

RESOLVED, that the Board hereby ratifies and approves (a) the retention by the
Company of (i) the law firm of Curtis, Mallet-Prevost, Colt & Mosle, LLP as its general
restructuring counsel, (ii) the law firm of Cahill Gordon & Reindel LLP as its general corporate
counsel, (iii) the firm of CRG Partners Group LLC as its financial restructuring advisor, and
(b) the employment and appointment of Donald E. Miller as its Chief Restructuring Officer,
under the supervision of the Board, to manage, coordinate, direct and take any and all actions
which he deems necessary and proper in connection with any restructuring alternative and the
resolution of the distress of the Companies; and be it further

RESOLVED, that the Company be, and it hereby is, authorized and directed to retain the
law firm of Richards, Layton & Finger, P.A., as its Delaware bankruptcy counsel.

On March 15, 2009:

Filing of Chapter [1 Petition

RESOLVED, that the Company (including the Filing Subsidiaries) be, and it hereby is,
authorized and directed to file a petition seeking relief under the provisions of the Bankruptcy
Code; such petition to be filed in the United States Bankruptcy Court for the District of Delaware
or such other jurisdictions as the Company shall deem appropriate (the “Bankruptcy Court”) as
soon as practicable; and be it further

RESOLVED, that the Company be, and it hereby is, authorized and directed to cause
each of the Filing Subsidiaries to take any and all action, including authorizing a filing in
Bankruptcy Court, and to execute and deliver any and all documents, agreements, motions and
pleadings as are necessary or appropriate to enable such Filing Subsidiary to carry out the filing
in Bankruptcy Court contemplated hereby; and be it further;

Sales of the Company’s Assets and DIP Facilities

RESOLVED, that the sale of ali or substantially all of the assets of Banner Aerospace
Holdings I, Inc. and its direct and indirect subsidiaries (“Banner”) and Fairchild Realty, LLC
(“FR”) be, and it hereby is, authorized and approved, whether through one or more negotiated
sales or through the use of an auction, to the highest and best bidder(s) (the “Successful Bidder’)
in accordance with the bidding procedures presented to and reviewed by the Board, or through
any other sale procedure available under the Bankruptcy Code or otherwise; and be it further
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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 26 of 33

RESOLVED, that the Company be, and it hereby is, authorized and directed to enter into
discussions and negotiations for the sale of all or substantially all of the assets and the
assumption of certain liabilities of Banner with Phoenix Banner LLC or its designee to act as
stalking horse in connection with the above mentioned sale and, if additional qualified bidders
participate in an auction, in either case, pursuant to section 363 of the Bankruptcy Code and any
sale order entered by the Bankruptcy Court (the “Banner Sale”); and be it further

RESOLVED, that the officers of the Company (collectively, the “Officers” and
individually an “Officer”) be, and each of them hereby is, authorized, directed and empowered,
in the name and on behalf of the Company, to take any and all actions to negotiate, execute,
deliver and/or file, or cause to be negotiated, executed, delivered and/or filed, any and all
necessary documents, agreements, motions or other instruments in connection with the Banner
Sale, including, without limitation, one or more asset purchase agreement(s) with the stalking
horse or the Successful Bidder, as well as any other agreements or other documents which, in the
opinion of the Officers so acting on behalf of the Company, may be necessary, appropriate,
convenient or proper to carry out and consummate the Banner Sale with the stalking horse or
other Successful Bidder; and be it further

RESOLVED, that the Company be, and it hereby is, authorized and directed to guarantee
the obligations of Banner, as the borrowers under a $23,000,000 senior secured, super-priority
debtor-in-possession revolving credit facility (the “Senior DIP Facility”) with PNC, (including
the roll-up of the Existing Credit Facilities with PNC into the Senior DIP Facility); and be it
further

RESOLVED, that the Company be, and it hereby is, authorized and directed to guarantee
the obligations of Banner and FR, as the borrowers under a $4,000,000 debtor-in-possession
subordinated credit and security agreement with Phoenix Banner LLC or its designee (the
“Lender”) subordinated to the Senior DIP Facility (the “Tunior DIP Facility”) for certain
designated purposes; and be it further

RESOLVED, that in connection with the commencement of the Bankruptcy Case, the
Officers be, and each of them hereby is, authorized, empowered and directed to negotiate,
execute and deliver any and all loan documents required in connection with the Senior DIP
Facility and the Junior DIP Facility, including, without limitation, such notes, security
agreements, instruments, any guaranty and other agreements, on such terms and conditions as the
Officer so acting on behalf of the Company considers necessary, appropriate, convenient or
proper (collectively with any such loan facilities, the “Credit Documents”), his or her signature
thereon shall be conclusive evidence that the same was authorized hereby.

General Authorization

RESOLVED, that any actions taken by any Officer or any of the professionals retained
by the Company, in each case, acting on behalf of the Company in connection with the
Bankruptcy Case, the Banner Sale or any matter related thereto, be, and each of them hereby is,
adopted, ratified, confirmed and approved in all respects as the acts and deeds of the Company;
and be it further

RESOLVED, that the Officers be, and each of them hereby is, authorized, directed and
empowered, in the name and on behalf of the Company, to take or cause to be taken any and all

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 27 of 33

further actions, to prepare and execute any and all motions, certificates and pleadings, to cause
the same to be filed in the Bankruptcy Court, and to execute and deliver or cause to be executed
or delivered ail such other agreements, documents, certificates and undertakings, and to incur all
such fees and expenses, as in the judgment of the Officer so acting, shall be necessary,
appropriate, convenient or advisable to effectuate the purpose and intent of any and all of the
foregoing resolutions.

B. (i) Each of the Companies listed in Column A of Appendix 1, at meetings of the

applicable Company’s board of directors, and (ii) the Company listed in Column B of Appendix 1, by
written consents of its Sole Member and Board of Directors, in each case, on the dates set forth below,
adopted the following resolutions:

3538388

Qn March 13, 2009:

Confirmation of Retention of Counsels, Advisors and Chief Restructuring Officer

RESOLVED, that the Board hereby ratifies and approves (a) the retention by the
Company of (i) the law firm of Curtis, Mailet-Prevost, Colt & Mosle, LLP as its general
restructuring counsel, (ii) the law firm of Cahill Gordon & Reindel LLP as its general corporate
counsel, (111) the firm of CRG Partners Group LLC as its financial restructuring advisor, and
(b) the employment and appointment of Donald E. Miller as its Chief Restructuring Officer,
under the supervision of the Board, to manage, coordinate, direct and take any and all actions
which he deems necessary and proper in connection with any restructuring alternative and the
resolution of the distress of the Companies; and be it further

RESOLVED, that the Company be, and it hereby is, authorized and directed to retain the
law firm of Richards, Layton & Finger, P.A., as its Delaware bankruptcy counsel.

On March 15, 2009:

Filing of Chapter 11 Petition

RESOLVED, that the Company be, and it hereby is, authorized and directed to file a
petition seeking relief under the provisions of the Bankruptcy Code; such petition to be filed in
the United States Bankruptcy Court for the District of Delaware or such other jurisdictions as the

Company shall deem appropriate (the “Bankruptcy Court”) as soon as practicable; and be it
further

Sales of the Company’s Assets and DIP Facilities

RESOLVED, that the sale of all or substantially all of the assets of the Company be, and
it hereby is, authorized and approved, whether through one or more negotiated sales or through
the use of an auction, to the highest and best bidder(s) (the “Successful Bidder”) in accordance
with the bidding procedures presented to and reviewed by the Board, or through any other sale
procedure available under the Bankruptcy Code or otherwise; and be it further

RESOLVED, that the Company be, and it hereby is, authorized and directed to enter into
discussions and negotiations for the sale of all or substantially all of the assets and the
assumption of certain liabilities of the Company with Phoenix Banner LLC or its designee to act

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 28 of 33

as stalking horse in connection with the above mentioned sale and, if additional qualified bidders
participate in an auction, in either case, pursuant to section 363 of the Bankruptcy Code and any
sale order entered by the Bankruptcy Court (the “Banner Sale”); and be it further

RESOLVED, that the officers of the Company (collectively, the “Officers” and
individually an “Officer”) be, and each of them hereby is, authorized, directed and empowered,
in the name and on behalf of the Company, to take any and ail actions to negotiate, execute,
deliver and/or file, or cause to be negotiated, executed, delivered and/or filed, any and all
necessary documents, agreements, motions or other instruments in connection with the Banner
Sale, including, without limitation, one or more asset purchase agreement(s) with the stalking
horse or the Successful Bidder, as well as any other agreements or other documents which, in the
opinion of the Officers so acting on behalf of the Company, may be necessary, appropriate,
convenient or proper to carry out and consummate the Banner Sale with the stalking horse or
other Successful Bidder; and be it further

RESOLVED, that the Company be, and it hereby is, authorized and directed to enter into
discussions and negotiations for the consummation of a $23,000,000 senior secured, super-
priority debtor-in-possession revolving credit facility (the “Senior DIP Facility”) with PNC
(including the roll-up of the Existing Credit Facilities into the Senior DIP Facility); and be it
further

RESOLVED, that the Company be, and it hereby is, authorized and directed to enter into
discussions and negotiations for the consummation of a $4,000,000 debtor-in-possession
subordinated credit and security agreement with Phoenix Banner LLC or its designee (the
“Lender”) subordinated to the Senior DIP Facility (the “Junior DIP Facility”) for certain
designated purposes; and be it further

RESOLVED, that in connection with the commencement of the Company’s Chapter 11
case, the Officers be, and each of them hereby is, authorized, empowered and directed to
negotiate the use of cash collateral and to negotiate, execute and deliver any and all loan
documents required in connection with the Senior DIP Facility, Junior DIP Facility, including,
without limitation, such notes, security agreements and other agreements or instruments and on
such terms and conditions as the Officer so acting on behalf of the Company considers
necessary, appropriate, convenient or proper (collectively with any such loan facilities, the
“Credit Documents”), his or her signature thereon shall be conclusive evidence that the same was
authorized hereby.

General Authorization

RESOLVED, that any actions taken by any Officer or any of the professionals retained
by the Company, in each case, acting on behalf of the Company in connection with the
Bankruptcy Case, the Banner Sale or any matter related thereto, be, and each of them hereby is,
adopted, ratified, confirmed and approved in all respects as the acts and deeds of the Company;
and be it further

RESOLVED, that the Officers be, and each of them hereby is, authorized, directed and
empowered, in the name and on behalf of the Company, to take or cause to be taken any and all
further actions, to prepare and execute any and all motions, certificates and pleadings, to cause
the same to be filed in the Bankruptcy Court, and to execute and deliver or cause to be executed

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 29 of 33

or delivered all such other agreements, documents, certificates and undertakings, and to incur all
such fees and expenses, as in the judgment of the Officer so acting, shall be necessary,
appropriate, convenient or advisable to effectuate the purpose and intent of any and all of the
foregoing resolutions.

C. (i) Each of the Companies listed in Column C of Appendix 1, at meetings of the
applicable Company’s board of directors, and (ii) the Company listed in Column E of Appendix 1, by
unanimous written consents of the Company’s Sole Member and Board of Directors, in each case, on the
dates set forth below, adopted the following resolutions:

On March 13, 2009:

Confirmation of Retention of Counsels, Advisors and Chief Restructuring Officer

RESOLVED, that the Board hereby ratifies and approves (a) the retention by the
Company of (1) the law firm of Curtis, Mallet-Prevost, Colt & Mosle, LLP as its general
restructuring counsel, (ii) the law firm of Cahill Gordon & Reindel LLP as its general corporate
counsel, (iii) the firm of CRG Partners Group LLC as its financial restructuring advisor, and
(b) the employment and appointment of Donald E. Miller as its Chief Restructuring Officer,
under the supervision of the Board, to manage, coordinate, direct and take any and all actions
which he deems necessary and proper in connection with any restructuring alternative and the
resolution of the distress of the Companies; and be it further

RESOLVED, that the Company be, and it hereby is, authorized and directed to retain the
law firm of Richards, Layton & Finger, P.A., as its Delaware bankruptcy counsel.

D. Each of the Companies listed in Column D of Appendix 1, by written consents of their
respective Sole Member, on the dates set forth below, adopted the following resolution:

On March 13, 2009:

Confirmation of Retention of Counsels, Advisors and Chief Restructuring Officer

RESOLVED, that the Member hereby ratifies and approves (a) the retention by the
Company of (i) the law firm of Curtis, Mallet-Prevost, Colt & Mosle, LLP as its general
restructuring counsel, (ii) the law firm of Cahill Gordon & Reindel LLP as its general corporate
counsel, (iii) the firm of CRG Partners Group LLC as its financial restructuring advisor, and
(b) the employment and appointment of Donald E. Miller as its Chief Restructuring Officer,
under the supervision of the Board of the Member, to manage, coordinate, direct and take any
and all actions which he deems necessary and proper in connection with any restructuring
alternative and the resolution of the distress of the Companies; and be it further

RESOLVED, that the Company be, and it hereby is, authorized and directed to retain the
law firm of Richards, Layton & Finger, P.A., as its Delaware bankruptcy counsel.

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 30 of 33

E. The Company listed in Column F of Appendix 1, by unanimous written consents of the

Company’s Members on the date se t forth below, adopted the following resolutions:

On March 13, 2009:

Confirmation of Retention of Counsels, Advisors and Chief Restructurin g Officer

RESOLVED, that the Members hereby ratify and approve (a) the retention by the
Company of (i) the law firm of Curtis, Mallet-Prevost, Colt & Mosle, LLP as its general
restructuring counsel, (ii) the law firm of Cahill Gordon & Reindel LLP as its general corporate
counsel, (ii1) he firm of CRG Partners Group LLC as its financial restructuring advisor, and
(b) the employment and appointment of Donald E. Miller as its Chief Restructuring Officer,
under the supervision of the board of directors of The Fairchild Corporation, to manage,
coordinate, direct and take any and all actions which he deems necessary and proper in

connection with any restructuring alternative and the resolution of the distress of the Companies;
and be it further

RESOLVED, that the Company be, and it hereby is, authorized and directed to retain the
law firm of Richards, Layton & Finger, P.A., as its Delaware bankruptcy counsel.

F. (i} Each of the Companies listed in Column C of Appendix 1, at meetings of the

applicable Company’s board of directors, (ii) each of the Companies listed in Column D of Appendix 1,
by written consents of their respective Sole Member, (iii) the Company listed in Column E of Appendix
1, by unanimous written consents of the Company’s Sole Member and Board of Directors and (iv) the
Company listed in Column F of Appendix 1, by unanimous written consents of the Company’s
Members, in cach case, on the dates set forth below, adopted the following resolutions:

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On March 15,2009:

Filing of Chapter 11 Petition

RESOLVED, that the Company be, and it hereby is, authorized and directed to file a
petition seeking relief under the provisions of the Bankruptcy Code; such petition to be filed in
the United States Bankruptcy Court for the District of Delaware or such other jurisdictions as the

Company shall deem appropriate (the “Bankruptcy Court”) as soon as practicable; and be it
further

The Banner Sale and Junior DIP Facility

RESOLVED, that the Company be, and it hereby is, authorized and directed to guarantee
the obligations of Banner Aerospace Holding Company I, Inc. and its direct and indirect
subsidiaries (“Banner”), as the borrowers under a $4,000,000 debtor-in-possession subordinated
credit and security agreement with Phoenix Banner LLC or its designee (the “Lender”),
subordinated to a certain $23,000,000 senior secured, super-priority debtor-in-possession

revolving credit facility, for certain designated purposes (the “Junior DIP Facility”); and be it
further

RESOLVED, that in connection with the commencement of the Company’s Chapter 11
case, the Officers be, and each of them hereby is, authorized, empowered and directed to
Case 09-10899-JKS Doc1 Filed 03/18/09 Page 31 of 33

negotiate the use of cash collateral and to negotiate, execute and deliver any and all loan
documents required in connection with the Junior DIP Facility, including, without limitation,
such notes, security agreements and other agreements or instruments and on such terms and
conditions as the Officer so acting on behalf of the Company considers necessary, appropriate,
convenient or proper (collectively with any such loan facilities, the “Credit Documents”), his or
her signature thereon shall be conclusive evidence that the same was authorized hereby.

General Authorization

RESOLVED, that any actions taken by any Officer or any of the professionals retained
by the Company, in each case, acting on behalf of the Company in connection with the
Bankruptcy Case, the Banner Sale or any matter related thereto, be, and each of them hereby is,
adopted, ratified, confirmed and approved in all respects as the acts and deeds of the Company;
and be it further

RESOLVED, that the Officers be, and each of them hereby is, authorized, directed and
empowered, in the name and on behalf of the Company, to take or cause to be taken any and all
further actions, to prepare and execute any and all motions, certificates and pleadings, to cause
the same to be filed in the Bankruptcy Court, and to execute and deliver or cause to be executed
or delivered all such other agreements, documents, certificates and undertakings, and to incur all
such fees and expenses, as in the judgment of the Officer so acting, shall be necessary,
appropriate, convenient or advisable to effectuate the purpose and intent of any and all of the
foregoing resolutions.

It is understood and acknowledged that the undersigned is executing this Certificate not in an

individual capacity but solely in his capacity as an officer of the Companies and is without any personal
liability as to the matters contained in this Certificate.

IN WITNESS WHEREOF, the undersigned has executed this Certificate in the name of and on

behalf of the Companies this 16th day of March, 2009.

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_ pa Ny y ;
By: Vy Uf Nl» -

Donald E. Miller
Chief Restructuring Officer

Case 09-10899-JKS Doc1 Filed 03/18/09 Page 32 of 33

APPENDIX 1

List of Companies

Column A

Banner Aerospace Holding Company I, Inc.
DAC International, Inc.

Matrix Aviation, Inc.
NASAM Incorporated

GCCUS, Inc. Professional Aircraft Accessories, Inc.
Professional Aviation Associates, Inc.

Column B

Fairchild Realty, LLC

Column C

A10 Inc. Fairchild Trading Corp.

Aero International, Inc. Faircraft Sales, Ltd.

Aircraft Tire Corporation Gobble Gobble, Ine.

Banner Aerospace Holding Company I, Inc.
Banner Aerospace Services, Inc.
Banner Aerospace-Singapore, Inc.
Banner Capital Ventures, Inc.

Banner Energy Corporation of Kentucky, Inc.
Banner Industrial Distribution, Inc.
Banner Industrial Products, Inc.

BAR DE, Inc.

Dallas Aerospace, Inc.

Discontinued Aircraft, Inc.
Discontinued Services, Inc.

Euro MLS, Inc.

Fairchild Data Corporation

Fairchild Fasteners Corp.

Fairchild France, Inc.

Fairchild Holding Corp.

Fairchild International, Inc.

Fairchild Retiree Medical Services, Inc.
Fairchild Sports USA, Inc.

Fairchild Sports, Inc.

Fairchild Switzerland, Inc.

Fairchild Technologies IP, Inc.
Fairchild Titanium Technologies, Inc.

Intersport Fashions West, Inc.
Jenkins Coal Dock Company, Inc.
Mairoll, Inc.

Marcliff Corporation

Marson Creative Fastener, Inc.
Meow, Inc.

PB Herndon Aerospace, Inc.
Plymouth Leasing Company
Recoil Australia Hoidings, Inc.
Recoil Holdings, Inc.

Recoil Inc.

Recycling Investments H, Inc.
Recycling Investments HI, Inc.
RHI Holdings, Inc.

Sheepdog, Inc.

Sovereign Air Limited
Suchomimous Terensis, Inc.
The Rooster, Inc

The Rooster, Inc

Column D

Republic Thunderbolt North, LLC
Republic Thunderbolt West, LLC
Swimming Upstream LLC

Column E

Republic Thunderbolt, LLC

Column F

DEM Mairol!, LLC

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Case 09-10899-JKS Doc1 Filed 03/18/09 Page 33 of 33

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Tn re: Chapter 11

THE FAIRCHILD CORPORATION, et al.,! Case No. 09-

Debtors. Joint Administration Pending

NOTICE OF FILING OF CREDITOR MATRIX

PLEASE TAKE NOTICE that the above-captioned debtors and debtors-in-possession
will concurrently file in a separate attachment the Creditor Matrix with the United States
Bankruptcy Court for the District of Delaware, 824 North Market Street, Wilmington, Delaware
19801.

Dated: March 16, 2009 CURTIS, MALLET-PREVOST,
Wilmington, Delaware COLT & MOSLE LLP

Steven J, Reisman (SR-4906)
Timothy A. Barnes (TB-0409)
Veronique A. Hodeau (VH-8107)
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- and -

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One Rodney Square

920 North King Street

Wilmington, Delaware 19801

Telephone: (302) 651-7700

Facsimile: (302) 651-7701

Proposed Co-Counsel for the Debtors and
Debtors-in-Possession

' The last four digits of Fairchild’s federal tax identification number are 8587. The mailing address for Fairchild is
1750 Tysons Boulevard, Suite 1400, McLean, VA 22102. Due to the large number of Debtors in these cases, for
which the Debtors have requested joint administration, a complete list of the Debtors, the last four digits of their
federal tax identification numbers and their addresses is not provided herein. A complete list of such information
may be obtained on the website of the Debtors’ proposed noticing and claims agent at
http://chapter! 1 .epiqsystems.com/fairchild.

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